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                IN THE UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

WYNNE TRANSPORTATION LLC,

                        Plaintiff,
                                           Case No. 24-cv-171
                 v.
                                           Hon. John J. Tharp
CITY OF CHICAGO,

                        Defendant.




 DEFENDANT’S MEMORANDUM IN SUPPORT OF ITS MOTION TO DISMISS THE
         COMPLAINT PURSUANT TO RULES 12(b)(1) AND 12(b)(6)
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Exhibit B: Chicago Department of Transportation Rules (issued November 16, 2023)




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                                        INTRODUCTION

       The City has modest regulations governing buses that travel to Chicago from outside the

Chicago area, whether coming from elsewhere in Illinois or out of state. These buses are defined

as “intercity” buses. They can run on a regular, published schedule (like a Greyhound bus), or

arrive on an ad hoc, unscheduled basis. Either way, the City requires bus operators to contact the

City in advance with their proposed regular schedule (in the case of a scheduled intercity bus), or

their proposed one-off arrival date and time (in the case of an unscheduled intercity bus), and

obtain approval from the Commissioner of the City’s Department of Transportation (“CDOT”).

An application is approved unless the Commissioner concludes that the arrival time and location

would pose threats to the passengers or public, impede traffic, or unreasonably burden the City’s

resources. This system serves an important planning function— it allows the City to manage its

crowded streets and ensure that large buses of passengers from other cities, who are likely to be

unfamiliar with Chicago, unload safely and at places and times where the passengers will have

access to guidance, accommodations, or other resources.

       Plaintiff is a Delaware company hired by the State of Texas to bus migrants out of that

state, either on its own buses or through subcontractors. It challenges the City’s intercity bus

regulations as violating various constitutional provisions. It apparently wants to be able to drop

off scores of migrants on the streets of Chicago without heed to the basic safety and traffic

management concerns that underlie the City’s regulations.

       There is nothing to Plaintiff’s claims, and the Complaint should be dismissed. At the

outset, two of Plaintiff’s claims allege that the City’s regulations violate the rights of migrant bus

passengers, but Plaintiff lacks standing to bring those claims. Bus passengers are third parties

with whom Plaintiff lacks the necessary close relationship to be able to assert claims on their



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behalf. Indeed, the Complaint shows that the only close relationship Plaintiff has is with the State

of Texas, not migrants, for it is Texas that pays Plaintiff to orchestrate the trips to Chicago.

       In addition, Plaintiff’s claims all fail as a matter of law. The City’s bus regulations do not

violate the Supremacy Clause because they do not intrude into federal supremacy over

immigration. Plaintiff’s unilateral choice to pursue a line of business that happens to involve

migrants does not transform the City’s local and neutral regulations into preempted immigration

enforcement. Nor do the City’s regulations run afoul of the Dormant Commerce Clause, for they

do not discriminate against out-of-state commerce on their face or in their effect—again, they

apply equally to buses from Illinois or elsewhere. The regulations, moreover, do not create

impermissible distinctions that violate equal protection or the Illinois Special Legislation Clause.

Rather, they treat different classes of bus service in a tailored way well within the broad

regulatory latitude afforded the City. And, finally, the City’s regulations do not violate a

fundamental right to travel under the Due Process Clause, for they regulate only one mode of

transportation—intercity buses—and, even then, impose minimal requirements. For all these

reasons, the Complaint should be dismissed.

                                         BACKGROUND
       According to the Complaint, Plaintiff is a Delaware corporation that is paid by the State

of Texas to “transport migrants to Chicago.” Compl. ¶¶ 8, 10, 12. Plaintiff provides

transportation itself and also subcontracts with other transportation companies. Id. ¶ 11.

       Section 9-48-050 of the Municipal Code of Chicago (“MCC”) regulates the conditions

under which buses may load and unload passengers in the City. It states that (subject to

exceptions) a bus may unload passengers only “at a designated bus stop, bus stand, passenger

loading zone, or bus terminal.” MCC § 9-48-050(a) (the current ordinance is attached hereto as

Ex. A). It also more specifically addresses “intercity” buses, defined as those “used for

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transportation of persons between the City of Chicago and locations outside of the Chicago-

Naperville-Joliet, IL-IN-WI Metropolitan Statistical Area (M.S.A.) (as defined by the Director of

the United States Office of Management and Budget).” Id. § 9-48-050(e). This Metropolitan

Statistical Area encompasses a tri-state area surrounding Chicago, including portions of

southeastern Wisconsin and northwestern Indiana. See Off. of Mgmt. & Budget, OMB Bulletin

09-01, Update of Statistical Area Definitions and Guidance on Their Uses (Nov. 20, 2008),

Appendix at 28 (defining the M.S.A. to include several Illinois counties near Chicago, as well as

Kenosha County in Wisconsin and Lake, Porter, Newton, and Jasper Counties in Indiana).1 The

M.S.A. therefore does not include most of Illinois, including many populous cities like Rockford,

Springfield, and Champaign-Urbana. Id. Accordingly, a bus traveling to Chicago that originates

in one of these Illinois cities (or anywhere else in Illinois that is outside the M.S.A.) is regulated

as an intercity bus just as is a bus coming from Texas.

        Under the ordinance, any intercity bus is required to apply for and obtain the approval of

the CDOT Commissioner before unloading passengers. MCC § 9-48-050(f). Among other

information, an application is to include the proposed time of day and location where the bus will

unload. Id. The Commissioner has up to thirty days to approve the application, and in reviewing

it, the Commissioner is to consider “administrative efficiency and available resources, public

safety, and orderly traffic flow.” Id. An application may be denied if the Commissioner

determines that unloading passengers at the proposed time and location “presents an

unreasonable threat to the health, safety and welfare of the public or impedes the safe and

efficient flow of traffic or imposes an unreasonable burden on available resources.” Id.




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 This bulletin is available online at: https://www.whitehouse.gov/wp-
content/uploads/legacy_drupal_files/omb/bulletins/2009/09-01.pdf.
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        The CDOT Commissioner has promulgated rules implementing the ordinance. Ex. B

hereto. Among other things, the rules address “unscheduled” intercity buses—those that are not

operating pursuant to “(i) an approved letter of permission or (ii) an approved schedule and/or

approved pick-up/drop-off zone, as of the effective date of these Rules.” Id. Rule 1. Under the

rules, the unloading of passengers from unscheduled intercity buses may occur between 8 a.m.

and 5:30 p.m. on business days at location(s) designated by the CDOT Commissioner. Id. Rules

5–6. At least two full business days before arrival, unscheduled intercity buses must submit

applications for their proposed date and time. Id. Rule 3. Up to two applications may be

approved for a given arrival date, time, and location. Id. Rule 4. Drop-offs are limited to two per

hour, regardless of operator. Id. The Complaint does not allege that Plaintiff or its subcontractors

have ever attempted to comply with these application procedures.

        The Complaint contains six counts: violation of the Supremacy Clause (Count I);

violation of the Dormant Commerce Clause (Count II); violation of the Equal Protection Clause

(Count III); violation of the right to travel under the Due Process Clause (Count IV); violation of

the Illinois Constitution’s Special Legislation Clause (Count V); and a request for damages under

42 U.S.C. § 1983 (Count VI).

                                     STANDARD OF REVIEW
        With respect to Federal Rule of Civil Procedure 12(b)(1), “at the pleading stage, the

plaintiff must clearly allege facts demonstrating each element” of standing. Spokeo, Inc. v.

Robins, 578 U.S. 330, 338 (2016) (citation and quotation marks omitted). Likewise, to survive a

motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). On a

motion to dismiss, the court accepts as true all well-pleaded allegations, construing them in the

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light most favorable to the plaintiff. Pierce v. Zoetis, Inc., 818 F.3d 274, 277 (7th Cir. 2016).

Conclusory allegations, however, are not entitled to the presumption of truth. Iqbal, 556 U.S. at

678. And a plaintiff may plead itself out of court if the pleadings allege facts that demonstrate the

plaintiff cannot state a claim. Thompson v. Ill. Dep’t of Prof’l Regulation, 300 F.3d 750, 753–54

(7th Cir. 2002).

                                            ARGUMENT

I.      Plaintiff Lacks Standing To Assert Claims On Behalf Of Bus Passengers.

        At various times in the Complaint, Plaintiff invokes alleged harm to migrant passengers

as a basis for its claims. The first part of Count III alleges a violation of equal protection “based

on the national origin, alienage, and race of Plaintiff’s passengers,” which Plaintiff believes

subjects the ordinance to strict scrutiny review. Compl., Count III, heading A. And in Count IV,

Plaintiff contends that the ordinance violates “both Plaintiff’s and its passengers’ fundamental

right of free movement/interstate travel and fails the strict scrutiny test.” Id. ¶ 58.

        Plaintiff lacks standing to bring these claims. They are based on alleged injuries to third

parties—migrant bus passengers—but Plaintiff does not satisfy the test for standing to assert the

rights of these third parties. It is well established that a plaintiff “generally must assert his own

legal rights and interests, and cannot rest his claim to relief on the legal rights or interests of third

parties.” Warth v. Seldin, 422 U.S. 490, 499 (1975). A litigant may pursue claims on behalf of

third parties only when: (1) the litigant itself has suffered an injury in fact that gives the litigant a

sufficiently concrete interest in the outcome of the issue in dispute; (2) the litigant has a close

relationship to the third party; and (3) there is a hindrance to the third party’s ability to protect his

or her own interests. Kowalski v. Tesmer, 543 U.S. 125, 129–30 (2004) (citing Powers v. Ohio,

499 U.S. 400, 411 (1991)).



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         Even if Plaintiff has alleged a concrete interest in this dispute and therefore satisfies the

first requirement, Plaintiff does not carry its burden to establish the second and third. On the

second requirement, nothing in the Complaint indicates that Plaintiff has the required close

relationship with migrant passengers. To make this showing, a plaintiff must allege a relationship

that permits it to operate as “‘fully, or very nearly, as effective a proponent’” of the third-party’s

rights as the third party itself. Powers, 499 U.S. at 413 (quoting Singleton v. Wulff, 428 U.S. 106,

115 (1976)). But despite bearing the burden to demonstrate standing, Plaintiff offers no facts

showing that it will adequately represent the interests of migrant passengers.

         Indeed, the only relationship Plaintiff alleges is that it has contracted with Texas—not

migrants—to transport migrants out of Texas. Compl. ¶¶ 10–12. Plaintiff makes clear that it

provides transportation services “[t]o meet the State of Texas’ needs,” id. ¶ 11, and that the

transportation of migrants is part of a “transportation program” implemented by Governor

Abbott, id. ¶¶ 10, 12, and “funded by the State of Texas,” id. ¶ 12. Plaintiff’s allegations reveal a

business relationship with Texas that only incidentally involves migrants. Plaintiff is

contractually beholden not to the migrants’ interests but those of Texas and Governor Abbott.

         As to the third requirement for third-party standing, Plaintiff provides no reason why

migrant passengers are unable to bring claims on their own behalf, if they in fact believe that

they have been aggrieved. Plaintiff therefore cannot assert migrants’ alleged injuries as its own in

this litigation, and Counts III and IV should be dismissed to the extent that they challenge the

City’s regulations based on alleged injuries to migrants.

II.      Plaintiff’s Claims Should Be Dismissed For Failure To State A Claim.

         A.     Plaintiff’s claim under the Supremacy Clause should be dismissed (Count I).

         Plaintiff asserts that the ordinance violates the Supremacy Clause because the City is

preempted by federal law from “creating its own policy and regulations concerning

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immigration.” Id. ¶ 32. But the ordinance does no such thing, nor does it usurp federal authority

over immigration.

       Under the Supremacy Clause, there is a presumption that “state and local regulation of

health and safety matters can constitutionally coexist with federal regulation.” Hillsborough Cty.

v. Automated Med. Labs., Inc., 471 U.S. 707, 716 (1985). As recognized by a case cited by

Plaintiff, courts “assume that the historic police powers of the States are not superseded unless

that was the clear and manifest purpose of Congress.” Villas at Parkside Partners v. City of

Farmers Branch, 726 F.3d 524, 528 (5th Cir. 2013) (quotation marks omitted).

       For federal law to preempt local law, preemption must be expressly stated in a statute, or

implied. Gade v. Nat’l Solid Wastes Mgmt. Ass’n, 505 U.S. 88, 98 (1992). One way implied

preemption occurs is when Congress intends that federal law “occupy the field,” known as “field

preemption.” Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372 (2000). Field

preemption can be inferred “from a framework of regulation so pervasive . . . that Congress left

no room for the States to supplement it or where there is a federal interest . . . so dominant that

the federal system will be assumed to preclude enforcement of state laws on the same

subject.” Arizona v. United States, 567 U.S. 387, 399 (2012) (internal quotation marks and

citation omitted). Another way implied preemption can occur is through “conflict preemption,”

which is when “compliance with both federal and state regulations is a physical

impossibility,” or “the challenged state law stands as an obstacle to the accomplishment and

execution of the full purposes and objectives of Congress.” Id. (internal quotation marks and

citations omitted).2




2
 Preemption “of local ordinances is analyzed in the same way as that of statewide laws.”
Hillsborough Cty., 471 U.S. at 713.
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       In the area of immigration more specifically, preemption examines whether a local law

turns on a person’s immigration or alienage status—whether the local law implicates “a

determination of who should or should not be admitted into the country, and the conditions under

which a legal entrant may remain.” DeCanas v. Bica, 424 U.S. 351, 355 (1976) (abrogated on

other grounds). The City’s regulations, however, do not do this, and therefore are not preempted.

Nothing in the City’s ordinance or CDOT’s rules turns on or even mentions the immigration

status of bus operators or passengers. They apply even-handedly to any operator of an intercity

bus, regardless of the identity of the operator or passengers.

       For this reason, the cases cited by Plaintiff are inapt. In Arizona, the Supreme Court

invalidated a state law allowing state officers to arrest a person if the officer had probable cause

to believe that the person is “removable from the United States.” 567 U.S. at 407 (quotation

marks omitted). This law was preempted because it explicitly turned on a person’s immigration

status, and thereby “violate[d] the principle that the removal process is entrusted to the federal

government.” Id. at 409. Similarly, in Villas at Parkside Partners, the Fifth Circuit invalidated an

ordinance imposing criminal penalties on adults living in rental housing unless they showed that

they were a lawful immigrant. By creating offenses that turned on a person’s alienage status, the

ordinance “conflict[ed] with federal anti-harboring law and the federal authority to arrest and

detain persons for possible unlawful presence.” 726 F.3d at 535–36. It put “local officials in the

impermissible position of arresting and detaining persons based on their immigration status

without federal direction and supervision.” Id. at 532. See also State v. Sarrabea, 157 So. 3d 1

(La. App. 3 Cir. 2013) (invalidating a state law making it a crime to drive without documentation

demonstrating lawful presence in United States).




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       In contrast to these cases, the City’s regulations do not require an examination of

immigration status or impose local remedies for violations of federal immigration law. They do

not regulate conduct in the field of, or conflict with, immigration law. Instead, they are a public

safety measure that enables the City to manage its streets and ensure that passengers can

disembark in safe locations where resources and assistance are available. The City’s regulations

therefore “can constitutionally coexist with federal regulation.” Hillsborough Cty., 471 U.S. at

716.

       As nothing in the text of the City’s bus regulations implicates immigration, Plaintiff is

left to argue that the ordinance “is specifically designed to prevent entry of migrants into

Chicago.” Compl. ¶ 32. This does not suffice to establish preemption. Preemption occurs when

the operation of local law conflicts with federal law or intrudes into a preempted field; the intent

of the law’s drafters does not itself result in preemption. See Arizona, 567 U.S. at 416 (explaining

that a law is not invalid unless it “in fact conflicts with federal immigration law and its

objectives”); Keller v. City of Fremont, 719 F.3d 931, 942 (8th Cir. 2013) (rejecting a field

preemption theory where the challenged ordinance did not have the effect of “regulat[ing]

immigration generally or conduct in the ‘field’ of alien removal”).

       Even more, the suggestion that the ordinance was designed to prevent immigration is not

“plausible on its face,” and so fails for this separate reason. Twombly, 550 U.S. at 570. As the

Complaint acknowledges, the City “has a long history of welcoming immigrants from around the

world.” Compl. ¶ 2. Nothing in the Complaint suggests that the ordinance is an effort by the City

to turn its back on this history. While Plaintiff cites a stray statement from a single alderman and

a proposed (and rejected) ballot measure, id. ¶¶ 13–16, these are irrelevant here. They had

nothing to do with enactment or amendment of the ordinance, nor are they even suggestive of an



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intent to block migration. And statements from particular legislators do not stand as the view or

intent of the entire City Council in any event. See United States v. Machic-Xiap, 552 F. Supp. 3d

1055, 1075–76 (D. Or. 2021) (citing Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321, 2350

(2021)) (finding that one representative’s racial animus “cannot be attributed to the entire

Congress, especially when others in Congress expressed the opposite sentiment”). Plaintiff’s

cursory, baseless allegations regarding the City’s intent do not establish preemption.

       At bottom, the City’s ordinance and rules are neutral efforts to protect public safety and

manage congestion. They apply with equal force regardless of passengers’ immigration status,

and do not bar migrants (or anyone) from entering the City via intercity buses (or any number of

other transportation modes). Plaintiff’s Supremacy Clause claim should be dismissed.

       B.      Plaintiff fails to state a Dormant Commerce Clause claim (Count II).

       Plaintiff next alleges that the ordinance discriminates against interstate commerce in

violation of the so-called Dormant Commerce Clause. Plaintiff fails to state such a claim under

any of the available routes.

       First, Plaintiff does not show that the ordinance “explicitly discriminate[s]” against

interstate commerce on its face. Park Pet Shop, Inc. v. City of Chicago, 872 F.3d 495, 501 (7th

Cir. 2017). Plaintiff contends that the ordinance facially discriminates against interstate

commerce by “target[ing]” out-of-state unscheduled intercity buses. Compl. ¶ 40. But the

ordinance’s plain text refutes this claim. It defines an “intercity bus” as one that originates from

outside the Chicago-Naperville-Joliet, IL-IN-WI Metropolitan Statistical Area, a confined, tri-

state area in the immediate vicinity of Chicago. See supra at 3. While this definition

encompasses buses from outside Illinois, it also includes buses travelling to Chicago intrastate

from most of Illinois, too. Indeed, buses from all of Illinois outside the small confines of the

M.S.A. are covered by the City’s ordinance, and buses from those regions are therefore subject to
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the City’s regulations just as is a bus from Texas.3 For this reason, the ordinance does not

expressly discriminate against intercity buses from out of state. See Park Pet Shop, 872 F.3d at

502 (concluding that Chicago ordinance did not facially discriminate against interstate commerce

where it “evenhandedly prohibits all large commercial breeders—whether located in Illinois or

out of state—from selling dogs, cats, and rabbits to Chicago pet stores”).

        Second, Plaintiff does not show that the ordinance has a “discriminatory effect” on

interstate commerce. See id. at 501. Importantly, the requisite discriminatory effect does not exist

merely where, as Plaintiff argues, a state law has an “extraterritorial” effect or “control[s]

conduct beyond the boundaries of the state.” Compl. ¶ 41. Indeed, just last term, the Supreme

Court rejected the notion that there is an “almost per se rule against laws that have the practical

effect of controlling extraterritorial commerce,” and it reiterated that “[c]ompanies that choose to

sell products in various States must normally comply with the laws of those various States”

despite the effects of those laws. Nat’l Pork Producers Council v. Ross, 598 U.S. 356, 364, 375

(2023) (cleaned up) (affirming dismissal of Dormant Commerce Clause claim against California

statute that had the extraterritorial effect of causing out-of-state pork farmers to change how they

confined their pigs and increased their production costs by nearly 10%).

        Rather, to violate the Clause, the extraterritorial effects of a law must be discriminatory

effects—that is, effects that “benefit in-state economic interests by burdening out-of-state

competitors.” Id. at 369. And to survive dismissal, Plaintiff must “plead specific facts to support

a plausible claim that the ordinance has a discriminatory effect.” Park Pet Shop, 872 F.3d at 503.




3
 Conversely, not all buses from outside Illinois qualify as intercity buses – namely, buses originating out
of state but within the Metropolitan Statistical Area, such as those from Kenosha, Wisconsin or Gary,
Indiana.
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        Here, none of Plaintiff’s allegations plausibly establish that the ordinance discriminates in

its effects against out-of-state commerce and in favor of Illinois bus companies. In Park Pet

Shop, the Seventh Circuit held that the City’s puppy mill ordinance did not have a discriminatory

effect against out-of-state dog breeders because “breeders in Illinois enjoy no competitive

advantage over their counterparts outside the state. All breeders are similarly disadvantaged.” Id.

at 502. The same is true here: the requirements of the City’s intercity bus ordinance apply to all

intercity bus companies equally, whether operating out of Illinois or other states. See also

Minerva Dairy, Inc. v. Harsdorf, 905 F.3d 1047, 1059 (7th Cir. 2018) (rejecting as “irrelevant”

the plaintiff’s complaints about the burdens of a butter marketing law that were “not specific to

out-of-state butter makers” but affected “all” butter makers “regardless of whether they reside in

Wisconsin or out-of-state”).

        Last, Plaintiff cannot establish a Dormant Commerce Clause violation by recourse to the

balancing test of Pike v. Bruce Church, Inc., 397 U.S. 137, 142 (1970). Seventh Circuit cases

indicate that Pike is not available unless at least some discriminatory effect is shown, see, e.g.,

Park Pet Shop, 872 F.3d at 501–02, and, as just explained, there is no discriminatory effect here.

But even if Pike is available when a law is purely neutral toward interstate commerce (i.e., there

is no discriminatory effect), see Nat’l Pork Producers Council, 598 U.S. at 379–80, Plaintiff

does not state a claim under Pike.4

        Pike can be used to invalidate laws that impose burdens on interstate commerce that are

“clearly excessive in relation to the putative local benefits.” Id.; see also Park Pet Shop, 872 F.3d

at 501-02 (explaining Pike). On the burden side of the ledger, Plaintiff must plead facts



4
 Even if Pike analysis “[remains] open” in a “small number” of cases where a law has no discriminatory
effect, such cases lie “well outside Pike’s heartland” and are “not [off to] an auspicious start.” 598 U.S. at
380.
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“‘plausibly’ suggesting a substantial harm to interstate commerce; facts that render that outcome

a ‘speculative’ possibility are not enough.” Nat’l Pork Producers Council, 598 U.S. at 386

(plurality opinion) (quoting Twombly, 550 U.S. at 555).

       Plaintiff offers no facts plausibly showing that the City’s regulations impose a substantial

harm on interstate commerce. The most the Complaint offers are vague allegations that the

ordinance “hampers” Plaintiff’s operations, “may” lead to trip delays, or makes it “extremely

difficult” to transport people. Compl. ¶¶ 44, 60. These do not suffice. For one, they are

conclusory. Plaintiff does not, for example, explain why it cannot seek approval from the City 48

hours before a bus arrives, or why its buses cannot unload passengers at locations designated by

the City.

       More importantly, though, the allegations fail as a matter of law, because a burden on

Plaintiff does not equate to a burden on interstate commerce. It is not enough for Plaintiff to

point to its own alleged burdens, for the Commerce Clause does not protect “the particular

structure or methods of operation” used by a particular company. Exxon Corp. v. Governor of

Maryland, 437 U.S. 117, 127 (1978). Rather, it “protects the interstate market, not particular

interstate firms, from prohibitive or burdensome regulations.” Id. at 127–28. Plaintiff’s own

alleged burdens also fail as a matter of law for an additional reason: the effects of the City’s

regulations fall equally on in-state and out-of-state firms, and so any burden they impose (on

Plaintiff or others) is not a burden on interstate commerce. See Owner Operator Indep. Drivers

Ass’n, Inc. v. Penn. Tpk. Comm’n, 383 F. Supp. 3d 353, 384 (M.D. Pa. 2019) (dismissing a

Dormant Commerce Clause claim where allegations showed only that the challenged law

“impose[d] a burden on commerce as opposed to a burden on interstate commerce”) (emphasis

in original), aff’d, 934 F.3d 283 (3d Cir. 2019); VIZIO, Inc. v. Klee, 886 F.3d 249, 260 (2d Cir.



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2018) (affirming dismissal where the plaintiff failed to show “burdens on interstate commerce

that exceed the burdens on intrastate commerce”). For these reasons, Plaintiff fails to allege a

substantial burden on interstate commerce under Pike.

       Plaintiff fails on the other side of the Pike balance as well. The Complaint does not cast

any doubt on the public safety, traffic management, and resource allocation benefits of the

ordinance and rules. See Rosenblatt v. City of Santa Monica, 940 F.3d 439, 452 (9th Cir. 2019)

(explaining that a plaintiff asserting a Pike claim must plausibly allege facts showing that the

“local benefits claimed by the [government] are all illusory or illegitimate”). See also infra,

Section II.C.1.b (discussing the various benefits of the City’s regulations and why they satisfy

the rational basis standard).

       Put simply, the Complaint offers no plausible basis on which the Court could conclude

that the ordinance and CDOT’s rules place substantial burdens on out-of-state commerce or that

any such burdens clearly outweigh the local benefits of the ordinance. Plaintiff therefore fails to

establish a Commerce Clause violation through the Pike method, and, combined with the other

failures above, there is no basis for Plaintiffs’ Dormant Commerce Clause claim.

       C.      Plaintiff fails to state an equal protection claim (Count III).

       Plaintiff alleges that the City’s intercity bus regulations violate equal protection in two

ways: (1) they regulate unscheduled intercity buses differently from regularly scheduled intercity

buses, and (2) the ordinance is intentionally discriminatory based on the national origin,

ethnicity, or race of bus passengers. Both of these theories fail.

               1.      Plaintiff fails to state a claim based on the different treatment of
                       unscheduled and scheduled intercity buses.
       The City’s classification of intercity buses as unscheduled or scheduled is a business

classification; it does not implicate a protected class or a fundamental right, and therefore it is


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subject to mere rational basis review. See City of New Orleans v. Dukes, 427 U.S. 297, 303

(1976). To state a claim under this standard, Plaintiff must show that unscheduled intercity buses

are similarly situated to scheduled intercity buses, and there is no rational reason for the City’s

differential treatment of the two. See Smith v. City of Chicago, 457 F.3d 643, 650–51 (7th Cir.

2006); Greer v. Amesqua, 212 F.3d 358, 370 (7th Cir. 2000). Plaintiff fails both requirements.

                       a.      The two bus types are not similarly situated.

       First, unscheduled intercity buses are not similarly situated to scheduled ones. To be

similarly situated, a plaintiff and its comparator “must be identical or directly comparable in all

material respects.” LaBella Winnetka, Inc. v. Vill. of Winnetka, 628 F.3d 937, 942 (7th Cir. 2010)

(internal quotations omitted). Here, though, Plaintiff offers no explanation of why unscheduled

intercity buses and scheduled ones are similarly situated. This alone warrants dismissal. See, e.g.,

Saiger v. City of Chicago, 37 F. Supp. 3d 979, 983 (N.D. Ill. 2014) (“when the plaintiff fails to

allege facts tending to show the two groups are similarly situated, then dismissal under Rule

12(b)(6) is appropriate”); Cahn v. City of Highland Park, No. 11 C 6082, 2012 WL 917855, at *4

(N.D. Ill. Mar. 14, 2012) (dismissing claim where plaintiff failed to explain how any other person

was similarly situated to him); BFC Enterps., LLC v. City of Murray, Ky., No. 5:17-CV-111-TBR,

2018 WL 1457223, at *4 (W.D. Ky. Mar. 22, 2018) (dismissing claim where plaintiff business

failed to explain how other entities were similarly situated).

       Regardless, it is clear from the face of the City’s regulations that the two categories are

not similarly situated, for they have different business models and different methods of

operating. A regularly scheduled intercity bus “operates trips on a predictable and recurring

basis, following a schedule that is published in advance and available to the general public, and

provides services in exchange for paying a fare.” Exhibit B, Rule 1. Thus, passengers on a



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regularly scheduled intercity bus service will generally look up a bus company’s schedule, select

a bus that will be leaving at a predesignated time and from a predesignated area and will arrive at

a predesignated time and predesignated area, and then contract directly with the company for

their ticket. In contrast, an unscheduled intercity bus lacks these hallmarks. See id. It does not

follow a prearranged, regular schedule between established loading and unloading points. Nor do

passengers necessarily pay for their trip by buying a ticket from the company. As Plaintiff’s

allegations show, an unscheduled intercity bus operator (like itself) may contract with an outside

entity instead of directly with passengers. See Compl. ¶¶ 10–12. The Seventh Circuit has held

that differences of this sort between transportation providers render them not similarly situated.

See Ill. Transp. Trade Ass’n v. City of Chicago, 839 F.3d 594, 598–99 (7th Cir. 2016) (explaining

that taxis were not similarly situated to ride share companies due in part to differences in how

rides were scheduled and the information riders receive); see also Checker Cab Phila. v. Phila.

Parking Auth., 306 F. Supp. 3d 710, 735 (E.D. Pa. 2018); Bos. Taxi Owners Ass’n, Inc. v. City of

Boston, 84 F. Supp. 3d 72, 81 (D. Mass. 2015). For these reasons, Plaintiff’s equal protection

challenge to the intercity bus distinctions fails at the outset because unscheduled and scheduled

buses are not similarly situated.

                       b.      Treating the two bus types differently is rational.

       The claim also fails because, even if the two bus types were sufficiently similar, the

City’s differing regulations are rationally related to legitimate government interests. The rational

basis standard is “a paradigm of judicial restraint,” FCC v. Beach Commc’ns, Inc., 508 U.S. 307,

314 (1993), and recognizes that the City is accorded “wide” regulatory latitude, Dukes, 427 U.S.

at 303. In reviewing Plaintiffs’ claim, the Court is not to judge the “wisdom, fairness, or logic” of

the City’s classifications. Beach Commc’ns, 508 U.S. at 313. Rather, the City’s regulations will



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be upheld so long as there is a “conceivable” rationale for the City’s approach, even if that reason

did not “actually motivate[]” the City or is not based on evidence or empirical data. Id. at 315.

        Here, the differences in regulation that Plaintiff invokes come from CDOT’s rules

implementing the ordinance, not the ordinance itself. These differences, which concern the

locations, times of day, time windows, and numbers of drop-offs that may occur, all further

various legitimate interests of the City.5

        First, the City’s application, approval, and drop-off requirements for unscheduled

intercity buses promote the City’s legitimate interest in public safety. See Dahlstrom v. Sun-Times

Media, LLC, 346 F. Supp. 3d 1162, 1168 (N.D. Ill. 2018). Unscheduled intercity buses operate

irregularly, following no established and published schedule. By requiring these buses to obtain

City approval for a particular drop off time and location in advance, the City’s requirements

protect the safety of the buses’ passengers by ensuring that passengers are dropped off in areas

where they will be safe, and at reasonable times when businesses or service providers will be

available to assist the passengers should they need it. Indeed, this concern is expressly listed in

the ordinance as being a basis for denying a request for a particular arrival time and location. See

MCC § 9-48-050(f) (allowing denial where unloading passengers at the proposed time and

location “presents an unreasonable threat to the health, safety and welfare of the public”).




5
  Plaintiff often mischaracterizes the City’s ordinance and rules. For instance, Plaintiff alleges that
regularly scheduled intercity buses “can drop off passengers anytime and for an unlimited number of
trips” and suggests that only unscheduled buses “must obtain pre-approval from the Commission [sic]
before dropping off any passengers, anywhere.” Compl. ¶ 53. However, both categories of buses are
subject to application and pre-approval requirements. See MCC § 9-48-050(f). Plaintiff also alleges that
unscheduled intercity buses “can only have two drop offs in Chicago per day.” Compl. ¶ 53. However, the
regulations only restrict unscheduled intercity buses to two applications for a given date, time, and
location, as well as to two drop-offs or pick-ups per hour. Exhibit A, Rule 4. The rules therefore permit
many more arrivals than just two per day.
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       Second, and for very similar reasons, the City’s rules further the City’s interest in

regulating traffic congestion and promoting safe roadways. See A.J. Cal. Mini Bus, Inc. v. Airport

Comm’n of the City & Cty. of S.F., 148 F. Supp. 3d 904, 917 (N.D. Cal. 2015). Unscheduled

intercity buses pose a greater risk to the City’s ability to manage traffic than do scheduled buses,

because the City does not know when and where they will arrive, or how many of them there

will be. A surprise unloading of a large bus full of out-of-town passengers can tie up sidewalks

and parking lanes, and cause traffic to slow or stop. The City’s application requirement and

regulation of the times, locations, and frequency of arrivals allows the City to manage arrivals

and traffic congestion or dangers. As is the case with the City’s interest in public safety, these

traffic concerns are listed in the ordinance as something the CDOT Commissioner is to consider

when reviewing an application. See MCC § 9-48-050(f) (allowing denial where the proposed

unloading “impedes the safe and efficient flow of traffic”).

       Finally, the City’s regulations serve the City’s legitimate interest in administrative

efficiency. By setting up a clear system to regulate intercity bus arrivals, the City is able to

efficiently allocate resources as needed, such as assisting with passenger aid or traffic control.

See Cochran v. Ill. State Toll Highway Auth., 828 F.3d 597, 601 (7th Cir. 2016) (recognizing

efficient use of government resources as a legitimate interest); Richards v. Lavelle, 620 F.2d 144,

149 (7th Cir. 1980) (recognizing legitimate interest of administrative efficiency in government

function). Yet again, this is a concern captured by the ordinance. See MCC § 9-48-050(f)

(allowing denial where proposed unloading “imposes an unreasonable burden on available

resources”).

       For all these reasons, any difference in treatment between unscheduled and scheduled

intercity buses is rationally related to legitimate City interests. CDOT’s rules are a reasonable



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way to manage the unique problems posed by unscheduled intercity buses. For this additional

reason, Plaintiff fails to state an equal protection challenge to the CDOT rules.

               2.      Plaintiff fails to state an equal protection claim based on its
                       passengers.

       In Count III, Plaintiff also claims that the ordinance violates equal protection because it

discriminates based on the national origin, alienage, and race of bus passengers. Compl. ¶ 48.

This claim should be dismissed at the outset because, as explained above in Section I, Plaintiff

lacks standing to bring a claim on behalf of migrant passengers. But even if Plaintiff had

standing, the claim would fail on the merits. The ordinance contains no language mentioning,

much less making classifications based on, national origin, alienage, or race. Instead, it applies to

owners and operators of “any” intercity bus, regardless of who the owner or operator is, where

they are from, or who their passengers are or where they are from. MCC § 9-48-050(f). Indeed,

Plaintiff admits that the ordinance is “facially neutral.” Compl. ¶ 48.

       To otherwise state an equal protection claim based on unlawful discrimination, Plaintiff

must establish that the City’s regulations have a disparate impact on a protected class and are

motivated by a specific intent to discriminate. United States v. Leonides-Seguria, 627 F. Supp. 3d

938, 940–41 (N.D. Ill. 2022) (citing Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429

U.S. 252 (1977)). But, as to the first element, Plaintiff makes no plausible allegations that the

City’s intercity bus regulations produce a disparate impact on individuals of a certain national

origin, alienage, or race. It offers no statistics or other facts showing how members of various

racial or ethnic groups are impacted by the City’s regulations.

       And as to the second element, Plaintiff pleads no facts plausibly showing that the

regulations were motivated by an intentionally discriminatory animus. See Iqbal, 556 U.S. at 678

(“Threadbare recitals of the elements of a cause of action, supported by mere conclusory

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statements, do not suffice.”); Quinones v. New York City, 2022 WL 4787402, at *1 (S.D.N.Y.

Oct. 3, 2022) (dismissing equal protection claim making only conclusory allegations that a

policy restricting the ability to speak Spanish was motivated by an intent to discriminate based

on nationality and race). As already explained, the actions or statements of certain City Council

members on matters other than the ordinance do not suffice to show that the ordinance was

motivated by an illicit intention to burden migrants. See supra at Section II.A. Nor is

discriminatory intent established by Plaintiff’s conclusory allegation that the City’s regulations

target only unscheduled intercity buses carrying migrants. Compl. ¶ 49. Again, as already

explained, the City’s regulations do not target migrant passengers but apply to all intercity buses,

no matter who their passengers are. See supra at Section II.A. For these reasons, Plaintiff fails to

state an equal protection claim based on the race or national origin of its passengers.

       D.      Plaintiff fails to state a right to travel claim (Count IV).

       In Count IV, Plaintiff alleges a violation of the fundamental right to travel under the Due

Process Clause. There are three components of the right to travel: (1) the right of a citizen of one

state to enter and to leave another state; (2) the right to be treated as a welcome visitor when

temporarily present in the second state; and (3) for those travelers who elect to become

permanent residents in a new state, the right to be treated like other citizens of that state. See

Hope v. Comm’r of Ind. Dep’t of Corrs., 9 F.4th 513, 523 (7th Cir. 2021) (citing Saenz v. Roe,

526 U.S. 489, 500 (1999)). Plaintiff appears to invoke only the first aspect of the right to travel.

See Compl. ¶ 58 (collecting cases addressing freedom of movement and the right to travel

through public spaces and on public roadways). Plaintiff’s claim fails because Plaintiff, as a

business, does not have the right it asserts and does not properly allege a violation of the right

anyway.


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               1.      Plaintiff does not have a fundamental right to travel.

       Plaintiff is a bus company and therefore has no fundamental right to travel. The right to

travel has been recognized as the right of an individual to travel. See Smith v. Turner, 48 U.S.

283, 492 (1849) (acknowledging the right in relation to “American citizens who are passengers

from the ports of other States”); Crandall v. State of Nevada, 73 U.S. 35, 44 (1867) (recognizing

an individual’s right to travel and striking down a railroad tax levied on individual passengers, as

opposed to railroad operators, as violative of that right); Kent v. Dulles, 357 U.S. 116, 125–26

(1958) (recognizing the right to travel as a part of an individual’s historic right to such

movement); United States v. Guest, 383 U.S. 745, 758 (1966) (tying the right back to the Articles

of Confederation’s provision that “‘the people of each State shall have free ingress and regress to

and from any other State’”) (citing Art. IV, Articles of Confederation); Att’y Gen. of N.Y. v. Soto-

Lopez, 476 U.S. 898, 902 (1986) (explaining the historical acceptance of a right to migrate and

“abide” from state to state). Any claim asserting a right to travel by Plaintiff itself should be

dismissed because it does not have such a right.

               2.      The City’s regulations do not violate the right to travel.

       Even if it had a right to travel, Plaintiff fails to allege a violation of that right. To start,

and assuming that there is some physical way for a corporate entity to “travel” between states,

the City’s regulations leave Plaintiff entirely free to travel in its own right to and from Chicago,

or elsewhere. The regulations come into play only when Plaintiff wishes to use its buses to

transport others—passengers—on an intercity bus, but that is not a burden on Plaintiff’s ability to

travel. It is at most a burden on Plaintiff’s ability to conduct a certain type of business. And




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insofar as the ability of passengers to travel on Plaintiff’s buses is incidentally implicated,

Plaintiff lacks standing to assert any claim on behalf of the passengers. See supra at Section I.

       More importantly, any burden from the City’s regulations simply does not violate the

right to travel, whether held by Plaintiff or its passengers. The City’s regulations are akin to

regulations like gasoline taxes and toll roads that may lead to some extra delay, cost, or other

burden on intercity bus travel, but nonetheless “simply do not amount to the denial of a

fundamental right.” Owner Operator Indep. Drivers Ass’n, Inc. v. Pennsylvania Tpk. Comm’n,

934 F.3d 283, 295 (3d Cir. 2019) (citing Cramer v. Skinner, 931 F.2d 1020, 1031 (5th Cir. 1991))

(internal quotations omitted) (collecting cases). The right to travel is not violated “merely

because [a law] makes it somewhat less attractive” to travel. Pollack v. Duff, 793 F.3d 34, 46

(D.C. Cir. 2015).

       And even if the City’s regulations were so burdensome that they had the effect of halting

intercity buses altogether (something Plaintiff does not even try to allege), that still would not

matter, because the denial of a single mode of transportation does not impermissibly burden the

right to travel. See Matthew v. Honish, 233 F. App’x 563, 564 (7th Cir. 2007); see also Town of

Southold v. Town of E. Hampton, 477 F.3d 38, 54 (2d Cir. 2007) (holding the right to travel is not

a right to “the most convenient form of travel”); Miller v. Reed, 176 F.3d 1202, 1205 (9th Cir.

1999) (“[B]urdens on a single mode of transportation do not implicate the right to interstate

travel.”). People wishing to travel to Chicago remain free to pursue any number of other

transportation modes—such as scheduled intercity bus service, trains, planes, or other vehicles.

For all these reasons, Count IV should be dismissed.




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        E.       The special legislation claim should be dismissed (Count V).

        Plaintiff invokes the Illinois Constitution’s Special Legislation Clause in Count V,6 but

fails to state a violation of that provision. This claim is essentially the same as Plaintiff’s equal

protection claim, and should be dismissed for the same reasons.7

        Under the Special Legislation Clause, a statute containing a classification that

“discriminates in favor of a select group” will survive challenge so long as the classification is

not arbitrary. Elementary Sch. Dist. 159 v. Schiller, 849 N.E.2d 349, 361–62 (Ill. 2006).

Moreover, “[i]t is well settled that review of a special legislation challenge is governed by the

same standard that applies to review of equal protection challenges,” Cutinello v. Whitley, 641

N.E.2d 360, 363 (Ill. 1994), with the relevant equal protection analysis being the same under

both the United States and Illinois Constitutions, Caulkins v. Pritzker, 2023 IL 129453, ¶ 46,

cert. denied, No. 23-510, 2024 WL 72021 (U.S. Jan. 8, 2024).

        Plaintiff’s special legislation claim is, in the main, just its equal protection claim by

another name, and it fails for the same reasons discussed above with respect to Count III.

Plaintiff again alleges that the City’s regulations discriminate in favor of a select group and

makes an arbitrary classification between regularly scheduled and unscheduled intercity buses.

Compl. ¶ 68. As explained above in Section II.C, Plaintiff fails to state a claim based on these

theories. Similarly, Plaintiff’s allegation in Count V that the ordinance infringes on the

fundamental right of travel fails for the reasons discussed above in Section II.D.


6
 Plaintiff mislabels Count V as Count VI in its Complaint, but the City will refer to Plaintiff’s Special
Legislation Clause claim as Count V in this analysis.
7
  If the Court finds that Plaintiff’s preceding federal claims should be dismissed, there is also an
independent basis to dismiss this state law claim for lack of supplemental jurisdiction. RWJ Mgmt. Co. v.
BP Prod. N. Am., Inc., 672 F.3d 476, 479 (7th Cir. 2012) (“when all federal claims in a suit in federal
court are dismissed before trial, the presumption is that the court will relinquish federal jurisdiction over
any supplemental state-law claims”) (internal quotations omitted).
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       The one new aspect of Count V is Plaintiff’s reference to additional potential

comparators, including buses operating within the M.S.A. and other regional buses. Plaintiff

contends that these are entities on which the ordinance confers a special benefit or exclusive

privilege. Compl. ¶ 69. But this attempt at a wider net does not save its claim. For one, Plaintiff

does not allege facts showing that it is similarly situated to these so-called comparators. That

deficiency alone warrants dismissal. See Caulkins, 2023 IL 129453, ¶ 68 (plaintiffs failed the

similarly situated requirement of a special legislation claim when their pleadings did not show

that the two groups were similarly situated). See also Kaczka v. Ret. Bd. of the Policemen’s

Annuity and Benefit Fund of the City of Chi., 923 N.E.2d 1282, 1287 (Ill. App. 1st 2010)

(affirming dismissal of equal protection claim where plaintiff failed to identify “others similarly

situated to him”). Even more, unscheduled intercity buses are not similarly situated to these other

buses because they operate differently, serve different ridership areas, and have different business

models and service frequency. Plaintiff makes no attempt to explain why, for instance, an

unscheduled intercity bus arriving from Texas is similar to a regional PACE bus travelling the

short distance from Palos Hills to Chicago on a schedule.

       The City also has rational reasons for treating unscheduled intercity buses differently

from the regional bus types listed in Count V. As already explained in Section II.C.1.b.,

unscheduled intercity buses pose unique risks to public safety and the orderly management of

traffic. And compared to local passengers riding local buses in particular, intercity passengers are

more likely to arrive without long-term places to stay and to be less familiar with navigating the

City and its businesses and other resources, such as restaurants, shops, or hotels. That makes it

all the more important for the City to regulate unscheduled intercity buses differently, so that

these or other resources will be available. In addition, local buses are likely to have a better sense



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of the area and traffic patterns, and so pose less of a congestion risk. Each of these rational

reasons justifies the City’s regulations specific to unscheduled intercity buses. Plaintiff therefore

fails to state a claim under the Special Legislation Clause.8

        F.      Count VI should be dismissed.

        In Count VI, Plaintiff does not allege a separate substantive claim, but merely invokes 42

U.S.C. § 1983 as a basis for recovering damages for the alleged constitutional deprivations

asserted in the other counts of the Complaint. Because each of those counts fails to state a claim,

Count VI should be dismissed, too. See Albright v. Oliver, 510 U.S. 266, 271 (1994) (“Section

1983 is not itself a source of substantive rights but merely provides a method for vindicating

federal rights elsewhere conferred.”) (internal citations omitted).

                                            CONCLUSION
        WHEREFORE, the City respectfully requests that the court dismiss the Complaint

pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6) and grant the City such other

relief as it deems just and proper.




8
 In Count V, Plaintiff also invokes intercity buses that are approved by the CDOT Commissioner as
potential comparators. Those are not proper comparators because the point of comparison is whether they
have been approved by the City, not whether they share operational attributes that are similar to Plaintiff.
Plaintiff also invokes intercity buses that “transfer passages to trains,” but Plaintiff misreads the
ordinance. The ordinance does not exclude such buses from the definition of intercity bus. The ordinance
simply states that a particular type of intercity bus—one that “is exclusively used to transfer passengers”
to Amtrak and Metra trains—is exempt from a general prohibition on intercity buses depositing
passengers on Canal Street next to Union Station. See MCC § 9-48-050(e).


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Date: February 8, 2024                       Respectfully submitted,

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               Exhibit A
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               Exhibit B
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BY AUTHORITY VESTED IN THE COMMISSIONER OF TRANSPORTATION PURSUANT TO SECTIONS 2-102-
030(l) and 9-48-050 OF THE MUNICIPAL CODE OF CHICAGO, I HEREBY PROMULGATE THE FOLLOWING
RULES APPLICABLE TO M.C.C. SECTION 9-48-050 (BUSES – STOPPING, STANDING AND PARKING):




By Order of the Commissioner




Signed:____________________________________             November 16, 2023
                                                  Date:__________________________________

       Thomas Carney, Acting Commissioner, CDOT



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Effective: 11/16/23
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Rule 1: Definitions
For the purposes of these Rules, these definitions shall apply.

“Application” means a form that the Commissioner makes available for receiving and reviewing proposed
intercity bus operations.

“Approval” means written notice that the Commissioner has received, reviewed and determined that
an application satisfies the requirements of the M.C.C. and these Rules.

“Commissioner" means the Commissioner of Transportation or his/her designee.

“Regularly scheduled service” means intercity bus service that operates trips on a predictable and
recurring basis, following a schedule that is published in advance and available to the general public, and
provides service in exchange for paying a fare.

“Unscheduled intercity bus” means an “intercity bus” as defined in M.C.C. section 9-48-050(e), that is
not operating pursuant to Commissioner authorization via: (i) an approved letter of permission or (ii) an
approved schedule and/or approved pick-up/drop-off zone, as of the effective date of these Rules.


Rule 2: Applicability
The Commissioner’s preexisting application, review and approval process for intercity buses, as may be
amended from time to time, shall apply to: (i) applicants for regularly scheduled service, and (ii)
operators with an approved letter of permission, schedule and/or approved pick-up/drop-off zone as of
the effective date of these Rules.


Rule 3: Notice and Application Required
The operator of any intercity bus must make application for an approval to arrive and load/unload
passengers in the City of Chicago on the appropriate form made available by the Commissioner. All
applications for unscheduled intercity bus service must be received by the Commissioner a minimum of
2 full business days prior to the requested date of arrival in the application. For example, an application
for a Thursday drop-off, regardless of time, must be received by the Commissioner by close of business
on the preceding Monday. Similarly, an application for a Monday drop-off, regardless of time, must be
received by the Commissioner by close of business on the preceding Wednesday.

Rule 4: Processing and Approval of Applications
Applications for unscheduled intercity buses will be reviewed on a first-come, first-serve basis. No more
than two applications, regardless of operator, shall be approved by the Commissioner for a given date,
time, and location. Drop-offs and/or pick-ups for unscheduled intercity buses shall be limited to two per
hour, regardless of operator.


Rule 5: Days and Hours of Operation
Unscheduled intercity buses shall not load/unload passengers within the City of Chicago between the
hours of 5:30pm and 8am Monday to Friday, nor at any time on Saturdays, Sundays, or designated City of
Chicago Holidays.
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Rule 6: Passenger Pick-up/Drop-Off Locations
Unscheduled intercity buses shall only load/unload passengers at locations designated by the
Commissioner. The Commissioner has designated the following location(s)

    •   800 S. Desplaines St.
        (west curbside of S. Desplaines St. immediately south of W. Polk St.)
        Chicago, IL, 60607

Rule 7: Punctuality
For any given approval, unscheduled intercity buses must arrive no sooner than, and no later than 30
minutes after, the approved arrival time, otherwise the application shall be considered invalidated.

Rule 8: Proof of Application and Approval
Operators of unscheduled intercity buses must carry a physical or electronic copy of an approved
application and present it for inspection at the place of loading/unloading upon request by any
employee or designee of the City of Chicago.
